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Ards, Georgc

 

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2;05-020251_002-m

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7. IN (_`,\Si-lf.\i.'\'l"l`l'lR ()F
U.S. v. Ards Felony

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8. I’A\'MEN 'l` CATECORY

9. TYPE Pi~;RsON Ri;FRi;SENTe;l)
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Crimln

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li. Ol"l"£NSI‘I(S] (`.[i ARGED (Cite U.S. Cnde.'l`itle & Sectiun)

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12. ,\1'1011=\‘£\"5 N,\.\ii;
,\Ni) m,\n_wc ,u)nREss
SAMPSON, ROSS
605 POPLAR AVE
MEMPHIS TN 38105

(901) 575-9922

'l'e|ephone Numher:

(|"irsl Nlnie, M.l.. l.ast Name. including aml suiTn]

13. COL'RT ORDF.R

E 0 Appointing Cuunsel

m F Suhs Fur Federa| I)ei"ender
m P Suhs Fur l’ar\el Altorne_\‘

i'rior Attorne_\"s Nalne:

|:i

m \' Stan

C Cu-Counsel
i:] R Suhs For Reiained Attorney

hisz im i"ilC\TPir\T 'l’
uLLiit\, u.'.Ji umw .u_/i

WfD Gi~` TN. iiith HiS

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Appu|ntmenl Daie: ,_
%Because the above-named person represented has tesiil'i
i

 

l-|,. .\'A.\IF. .-\i\`D :\'I.»\lLl."`G ADDRESS OF LAW F[RM (un|_\‘ pro\itie per instructions)

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l:] Othor isn lnstri%h` ' Y
}k/LM I) .

herwise satisiied this court that he ur she ii) is linancia|lg‘ unable to empio_\'eumsei and
(1) does not wish tu waive countel, and because the interests ¢»i`j`uslice so require. the
attorney n'hme name appears in item lZ is appointed to represen

Signature of Presiding'.ludii:lul Oificer er B_\‘ Order ol' the Couri

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person in this cale,

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Date nigr;eft? H?nnq Nunc Pru 'l`unc lee
Repa_\meni or partial repayment ordered from the person repruenied fur this s erviee al
lime ofappnin\ment. ij YES [:P NO
cmM"FoR answers A._Nn exemses _ 1 v n -` ` j' '_ h ron donnest om.r

C,\TEGOR]ES month itemization cit services with duren CEQ!‘_,{,|*§SD é\-:n(i§l§:i§'l§ hilt§;§§ls:£i%" hi§hrs§§él'i§l(l§:“ AH§'J]'LQ;}’\L
lS. a. Arraignment and!or Ptee ' "

b. Bail and Detention Hearings

e. Motion Hearings
h d. Tri-al
C e. Seotcncing i-iearings
3 i. Re\'ocation Hearings
ir g. Appeals Court

h. Other (Specify on additional sheets)

(Raie per hour = 5 ) TOT.-\LS‘.

101 a. interviews and Conterences
g b. Obtaining and reviewing records
0 c. Legai research and brief writing
; d. Trave| time
§ e. investigative and Other work ispe¢iry mt minimal omni
tr {Rale per hour =$ ) TOTALS:
i'i. Travel Expenses (|odging, pnrking, meals. mileage, etc.)
iH, th£‘i‘ EX|JEI'|S¢S father than expert, transcripts etc.)

 

 

 

 

 

 

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19. CERTIFICAT{ON OF ATTORNE\’IPAYEE FOR THE PERIOD 0 F SERV|CE

!"ROM TO

20. APPOINTMENT TERM|NATION DATE
[l" OTHER THAN CASE COMPLET[ON

 

2]. CASE DlSPOS!TION

 

 

22. CLAIM STATUS I:] Fina| Pa_\‘nient

representatinli'.‘ YES m NO

i.__i interim Payment N\tmber
i-ia\‘e _\-oo pre\ious|y app1ied to the court |'cr compensation andior remimhuriiement |'or this casei'

Other than from the conrt, leave you, or toy-our knowledge hal anyone elie, received payment (compensation or anything or value) from any other source in connect\ln with this
m lfyes, give details on additional sheels.

i:i Suppleniental Faymeni
ij YES I:l NO l|'yes‘ were you paid‘.’

i swear i)r aii'lrm the truth or correctness ofthe above statements‘

_‘iignature ol`Attorney:

Date:

 

[___i YE`.S [J NO

 

 

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23. IN COURT COM P. 24. OUT OF COURT COMP.

25. 'l`RA\’EL EXPENSES 26. OTHER EXPENSES

17. 'TOT»\L AMT. APPR l CF.RT

 

28. S|(SNA'[`URE OF 'l'iiE ]’RESll)[NG JUDICIAL OFFICER

D ATE

131. .lL|D(]E! MAG. .ll'D(;E CODE

 

19. l.\' C|f)UR'I4 COF\'II‘. 30. O'L‘T 0|" COU RT COM]’.

 

311 TR.-\VEI.E.\'PHNSHS 32. OTHl:`.R. E.\P[€NSES

 

337 TOTAL M\IT. APPROVl-`.i)

 

34. SIGNA']`L"RF. ()F CHIEF .]UDGE. C()L'R'l` OF APP FI.¢\LS (OR DELEGATF_) Paymt~ni

appro\ed in excess r»|`the statutory thre>hoid amouni.

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US DISTRICT COURT

